Case 9:08-cv-81443-DTKH Document 32-1 Entered on FLSD Docket 09/03/2009 Page 1 of 2



                                                                                      EXHIBIT A


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No.: 9:08-CV-81443-HURLEY/HOPKINS



   SCS ALEXANDRE ET CIE,

                 Plaintiff,

   v.

   LANA MARKS LTD, INC.,

                 Defendant.
                                                  /

        ORDER GRANTING STIPULATED MOTION TO AMEND SCHEDULING ORDER

           THIS CAUSE is before the court upon the parties’ stipulated motion to amend the

   scheduling order [D.E. 32]. Upon consideration of the motion, the court finds that the parties

   have shown good cause for an extension of the deadlines in the scheduling order.

           Accordingly, it is hereby ORDERED and ADJUDGED that:

           1.    The parties’ stipulated motion to amend the scheduling order [D.E. 32] is

   GRANTED.

           2.    This case is set for trial on the April 2010 Trial Calendar (3 week docket) which

   commences on ________________. Counsel for all parties shall appear at a calendar call

   commencing at _______ on ___________________, in courtroom 5 at the U.S. Courthouse, 701

   Clematis Street, West Palm Beach, Florida.

           3.    The remaining provisions and deadlines in the Scheduling Order shall remain

   effective. Unless amended by subsequent order, the following deadlines shall apply.
Case 9:08-cv-81443-DTKH Document 32-1 Entered on FLSD Docket 09/03/2009 Page 2 of 2




           Rule 14 and Rule 19 Motions                       180 days before calendar call

           Rule 26(a)(2) Expert Testimony Disclosures      90 days before calendar call
              [**This includes the Rule 26(a)(2)(B) requirement for the disclosure of
              written expert reports which conform to the prescriptions of this Rule.
              This requirement will be strictly enforced.]

           Summary Judgment Motions                        90 days before calendar call
              [**This deadline will be strictly enforced. Motions for extension of time
              to file the motion or response will not be granted absent exceptional
              cause.]

           Mediation Conference                              60 days before calendar call

           Rule 26(a)(3) Witness and Exhibit List Exchange   30 days before calendar call

           Discovery Cutoff                                  10 days before calendar call

           Motions in Limine                                 5 days before calendar call

           Pretrial Stipulation                              5 days before calendar call
                                                              (note Local Rule 16.1E)

           Exhibit Inspection                              5 days before calendar call
              [**All exhibits listed on each party’s Rule 26(a)(3) disclosures must be
              made available for inspection and/or copying by the opposing party(s) by
              this date.]

           Voir Dire Questions                               First day of jury trial

           Jury Instructions                                 First day of jury trial

           Proposed Findings of Fact & Conclusions of Law    First day of non-jury trial

           DONE and SIGNED in Chambers at West Palm Beach, Florida, this ____ day, of

   ______________, 2009.


                                                     _______________________
                                                        Daniel T. K. Hurley
                                                      United State District Judge
   Copy provided counsel
   ACTIVE: 2679923_1




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